       Case 5:19-cv-00252-JKP Document 1-3 Filed 03/13/19 Page 1 of 6
                              EXHIBIT "A"
                                                 Service of Process
                                                 Transmittal
                                                                        02/19/2019
                                                                        CT Log Number 534937563
TO:     Kim Lundy Service of Process, Legal Support Supervisor
        Walmart Inc.
        702 SW 8th St, MS#0215
        Bentonville, AR 72716-6209

RE:     Process Served in Texas

FOR:    Walmart Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  Garza Anna, Pltf. vs. Walmart, Inc., Dft.
                                  Name discrepancy noted.
DOCUMENT(S) SERVED:               Citation, Petition
COURT/AGENCY:                     131st Judicial District Court, Bexar County, TX
                                  Case # 2019CI01975
NATURE OF ACTION:                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 03/03/2018 -
                                  8315 FM 78, Converse, Texas 78109
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:         By Process Server on 02/19/2019 at 08:04
JURISDICTION SERVED :             Texas
APPEARANCE OR ANSWER DUE:         By 10:00 a.m. on the Monday next following the expiration of 20 days
ATTORNEY(S) / SENDER(S):          Sarah A. Jordan
                                  The Presutti Law Firm, P.C.
                                  1919 Oakwell Farms Parkway, Suite 253
                                  San Antonio, TX 78218
                                  (210)468-3377
ACTION ITEMS:                     CT has retained the current log, Retain Date: 02/19/2019, Expected Purge Date:
                                  02/24/2019

                                  Image SOP

                                  Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

SIGNED:                           C T Corporation System
ADDRESS:                          1999 Bryan Street
                                  Suite 900
                                  Dallas, TX 75201
TELEPHONE:                        214-932-3601




                                                                        Page 1 of 1 / NP
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
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                                         EXHIBIT "A"



                                                                                                               PRIVATE PROCESS

                                                            Case Number 2019-CI-Q1975
                                                                                                                                                2018CJO1975     SBW81
ANNA GARZA
                                                                                                                                        IN THE DISTRICT COURT
VS.
                                                                                                                                        131st JUDICIAL DISTRICT
WAUMART INC                                                                                                                              BEXAR COUNTY, TEXAS
(Hole:Attached Document Nay Contain Additional Litigants.)

                                                                        CITATION
"THE STATE OF TEXAS’
Directed To:       WALMARTINC


                   BY SERVING ITS REGISTERS) AGENT, CT CORPORATION SYSTEM


"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this
citation by 10:00 am. on the Monday next following the expiration of twenty days after you were served this CITATION and ORIGINAL
PETITION , a default judgment may be taken against you." Said ORIGINAL PETITION was filed on the 30th day of January, 2019.




ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 1ST DAY OF FEBRUARY AD., 2019.

SARAH JORDAN PRESUTTI
                                                                                                                Mary Angie Garcia
ATTORNEY FOR PLAINTIFF                                                                                          Bexar County District Clerk
1919 OAKWaL FARMS PKWY 253                                                                                      101 W. Nueva, Suite 217
SAN ANTONIO, TX 78218                                                                                           San Antonio, Texas 78205

                                                                                                                By: jldnanna Cardenas, Deputy
ANNA GARZA                                                                                                     Case Humber: 2619-CI-01975
vs                                                                    Officer's Return                         Court: 131st Judicial District Court
WAU1ART INC

I received this CITATION on _____________           at          .o'ctoek__ M. end:( ) executed It by delivering a copy of (he (STATION with attached ORIGINAL PETITION the
date of delivery endorsed on it to the defendant,               _______________________________ in person on the                                                        at
_______ o'clock__ M. at:                                           or{ ) not executed because




Fees:                  Badge/PPS #:                     Date certification expires:
                                                                                                                                                       County. Texas
                                                                                                By:

OR: VERIFICATION OF RETURN (If not served by s peace officer) SHORN TO THIS



                                                                                                               HOTARY PUBLIC, STATE OF TEXAS

OR: liy name i<                                                             , my date of birth 1a                                             . and my address Is
                                                    ;                       ___ County.

I declare under penalty of perjury that the foregoing ia true and correct. Executed m                                               County, State of Texas, on
the          day of.            . 20_____

                                                                                                Oeolarant
                                                                                                                                ORIGINAL (0K6S2)
FILED
1/30/2019 4:28 PM          Case   5:19-cv-00252-JKP Document 1-3 Filed 03/13/19 CIT
                                                                                 Page 3 of MO
                                                                                    PPS    6 SAC 2
Mary Angie Garcia                                   EXHIBIT "A"
Bexar County District Clerk
Accepted By: Maria Jackson

                                                             2019CI01975
                                             CAUSE NO. ________________

              ANNA GARZA                                     §     IN THE DISTRICT COURT OF
                                                             §
              V.                                             §     BEXAR COUNTY, TEXAS
                                                             §
              WALMART, INC.                                  §    131st
                                                                  ________ JUDICIAL DISTRICT

                                          PLAINTIFF’S ORIGINAL PETITION

              TO THE HONORABLE JUDGE OF SAID COURT:

                      COMES NOW, Anna Garza, hereinafter called Plaintiff, in the above-styled cause of action,

              complaining of Walmart, Inc., hereinafter called Defendant, and for cause of action would

              respectfully show unto this Honorable Court as follows:

                                               I. LEVEL OF DISCOVERY

                      Plaintiff intends for discovery to be conducted under Level 2 of T.R.C.P. 190.3. Plaintiff

              further affirmatively pleads that she seeks monetary relief aggregating more than $100,000.00.

                                                        II. PARTIES

                      Plaintiff, Anna Garza, are individuals who reside in Bexar County, Texas.

                      Defendant, Walmart, Inc. is a company authorized to do business in Texas and may be

              served by serving its registered agent, CT Corporation System, 1999 Bryan St., Suit 900, Dallas,

              Texas 75201-3136 by our private process server Court Record Research.

                                              III. VENUE & JURISDICTION

                      Venue is proper in this action pursuant to Sec. 15.001 seq. of the Texas Civil Practices &

              Remedies Code in that all or a substantial part of the case of action arose in Bexar County, Texas.

              This Court has jurisdiction over the controversy because the amount in controversy is above the

              minimum jurisdictional limits of this court.
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                                            IV. FACTS

       On or about March 3, 2018, Plaintiff Anna Garza was entering the Walmart Supercenter

located at 8315 FM 78, Converse, Texas 78109 when she slipped and fell on water on the floor.

Defendant was aware the floor was wet, because it was raining on the date of the accident.

Defendant did not have any cautions signs warning shoppers of the slippery floor beyond the mat or

rug they had placed at the entrance. The Defendant was negligent for not providing safety

precautions and/or making the necessary repairs which constitute an unreasonably dangerous

condition which Defendant knew or should have been aware of and Defendant’s failure to ameliorate

the condition, or in the alternative, warn Plaintiff of same, constituted negligence and was a

proximate cause of the occurrence in question and the resulting injuries to Plaintiff. This accident

was not caused by any fault on the part of Plaintiff.

                                       V. NEGLIGENCE

       This accident and the injuries were directly and proximately caused by the negligence of

Defendant and its owner and employees, who were at all material times, acting within the course and

scope of their employment for Defendant, in one or more of the following respects:

       1.       Maintaining dangerous condition on the premises.

       2.       Failing to warn Plaintiff of a dangerous condition on the premises.

       3.       Failing to reasonably inspect and discover a dangerous condition on the premises.

       4.       Failing to ameliorate and make safe a dangerous condition on the premises.

       Each and all of the above stated acts and/or omissions, taken singularly, constitute negligence

and the same are a direct and proximate cause of the injuries and damages sustained by Plaintiff.

                                   VI. PERSONAL INJURIES

       Plaintiff alleges that as a direct and proximate result of the negligent conduct of the
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                                    EXHIBIT "A"



Defendant, Anna Garza, has suffered and is suffering from injuries and damages. In connection with

such injuries Anna Garza has suffered severe physical pain and mental pain, disability,

disfigurement and mental anguish in the past and is suffering at the present, and in all reasonable

probability will continue to suffer for some time in the future if not the balance of his natural life.

                                            VII. DAMAGES

        Plaintiff would show that as direct and proximate result of the above-mentioned injuries

Anna Garza incurred doctor bills and other medical expenses in the past and is incurring the same at

the present time and will, in all reasonable probability, continue to incur the same in the future.

        1.       These expenses were incurred for necessary care and treatment of the injuries
                 resulting from the accident complained of.

        2.       These expenses are reasonable and were the usual and customary charges made for
                 services of the same kind.

        3.       On this item of damage, Plaintiff further sues for prejudgment interest from the date
                 of the notice on January 26, 2016 until the day of judgment.

        4.       Plaintiff has suffered physical pain and mental pain, disability and mental anguish in
                 the past and will continue to suffer in the future in a sum within the jurisdiction of the
                 court.

By reason of the above and foregoing, Plaintiff has been damaged in a sum over $100,000.00

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees.


                               VIII. REQUEST FOR DISCLOSURE

        Plaintiff requests that the Defendant disclose, pursuant to Rule 194, Tex.R.Civ.P., within

thirty (30) days of service of this request, the information or material described in Rule 194.2.


                                                   IX.

        Pursuant to §30.014 of the Texas Civil Practice & Remedies Code, the last three digits of

Plaintiff’s Texas driver’s license are 165 and the last three digits of Plaintiff’s social security number
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                                   EXHIBIT "A"



are 556.

                                             X. PRAYER

       WHEREFORE PREMISES CONSIDERED, Plaintiff prays that the Defendant be duly cited

to appear and answer herein; that upon a final trial of this cause, Plaintiff recovers:

       1.       Judgment against Defendant;

       2.       Fair and adequate damages to be determined by the jury;

       3.       Pre-judgment and post-judgment interest as allowed by law;

       4.       Costs of Court; and

       5.       Such other and further relief to which Plaintiff may be justly entitled.

                                               Respectfully Submitted,

                                       THE PRESUTTI LAW FIRM, P.C.




                                       By:     ____________________________________
                                               SARAH A. JORDAN
                                               SBN: 11023100
                                               1919 Oakwell Farms Parkway, Suite 253
                                               San Antonio, Texas 78218
                                               Telephone: (210) 468-3377
                                               Facsimile: (210) 855-0494
                                               sarah@presuttifirm.com
